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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 20-61765-CIV-DIMITROULEAS

  RAYMOND T. MAHLBERG,

           Plaintiff,
  v.

  GUESS?, INC.,

        Defendant.
  ______________________________/

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff RAYMOND T. MAHLBERG (“Plaintiff”), and GUESS?, INC., (“Defendant” or

  “Guess”) (collectively the “Parties”), by and through their respective undersigned counsel, hereby

  stipulate that, based upon the settlement reached by the Parties in the above-captioned action,

  all claims be dismissed with prejudice, with each party to bear its own attorneys’ fees and

  costs.

  Dated: November 5, 2020.


   By: ____s/ Acacia Barros, Esq.              By: /s/ Ashley Jenkins, Esq.
     ACACIA BARROS, P.A                        SEYFARTH SHAW LLP
     Acacia Barros, Esq.                       Ashley Jenkins, Esq.
     Florida Bar No. 106277                    975 F St., NW
                                               Washington, D.C. 20004
     11120 N. Kendall Drive, Suite 201
                                               Tel: (202) 828-3530
     Miami, Florida 33176
                                               Facsimile: (202) 641-9194
     Telephone: (305) 639-8381
                                               asjenkins@seyfarth.com
     Facsimile: (786) 364-7327
                                               Attorney for Defendant
     ab@barroslawfirm.com
     Attorney for Plaintiff
